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   On behalf of Plaintiff, Bruno M. Teixeira

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   BRUNO M. TEIXEIRA, on behalf of
   himself and all others similarly situated,

              Plaintiff,

   vs.
                                                      CLASS ACTION COMPLAINT
   WELTMAN, WEINBERG & REIS CO.,
                                                         AND JURY DEMAND
   L.P.A., a Legal Professional Association
   formed in the State of Ohio; and TERI
   LOAN HOLDINGS, LLC, a Delaware
   Limited Liability Company; and JOHN
   AND JANE DOES 1 THROUGH 50,

              Defendants.


         Plaintiff, BRUNO M. TEIXEIRA (“Plaintiff” or “TEIXEIRA”), on behalf of
  himself and all others similarly situated, by way of Complaint against Defendants,
  WELTMAN, WEINBERG & REIS CO., L.P.A. (“WELTMAN”) and TERI LOAN
  HOLDINGS, LLC (“TERI”) (collectively referred to “Defendants”) says:

                               I.      NATURE OF THE ACTION
          1.     This action arises from the Defendants’ collaborative activities in pursuit of
  their common purpose to collect consumer debts in violation of the Fair Debt Collection
  Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                                        II.     PARTIES
         2.        TEIXEIRA is a natural person.

       3.    At all times relevant to the factual allegations of this Complaint,
  TEIXEIRA was a citizen of the State of New Jersey, residing in Union County, New

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  Jersey.

      4.   At all times relevant to the factual allegations of this Complaint,
  WELTMAN was a for-profit Legal Professional Association formed in the State of Ohio.

        5.     On information and belief, WELTMAN’s principal office is located at 323
  W. Lakeside Avenue, Suite 200, Cleveland, Ohio.

          6.     On information and belief, WELTMAN is registered to transact business in
  the State of New Jersey.

          7.      At all times relevant to the factual allegations of this Complaint, TERI was
  a for-profit Delaware limited liability company.

         8.     On information and belief, TERI’s principal office is located at 200
  Berkeley Street, 11th Floor, Boston, Massachusetts.

          9.    On information and belief, TERI is registered to transact business in the
  State of New Jersey.

          10.     On information and belief, TERI is an entity created by a trustee pursuant
  to the Chapter 11 Bankruptcy of non-party The Education Resources Institute, Inc. to
  collect on the alleged outstanding debts of TEIXIRA on behalf of the Bankruptcy Plan

           11.   JOHN AND JANE DOES NUMBERS 1 THROUGH 50, are sued under
  fictitious names as their true names and capacities are yet unknown to Plaintiff. Plaintiff
  will amend this complaint by inserting the true names and capacities of these DOE
  defendants once they are ascertained.

         12.      The Plaintiff is informed and believes, and on that basis alleges, that
  Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 50, are natural persons
  and/or business entities all of whom reside or are located within the United States and all
  of whom personally created, instituted and, with knowledge that such practices were
  contrary to law, acted consistent with and oversaw policies and procedures used by the
  employees of WELTMAN and TERI that are the subject of this Complaint. Those
  Defendants personally control the illegal acts, policies, and practices utilized by
  WELTMAN and TERI and, therefore, are personally liable for all of the wrongdoing
  alleged in this Complaint.

                              III.   JURISDICTION AND VENUE
            13.   Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.
  § 1331.

            14.   Venue is appropriate in this federal district pursuant to 28 U.S.C. § 1391


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  because the events giving rise to Plaintiff’s claims occurred within this federal judicial
  district, and because Defendants, individually or through the actions of persons authorized
  to act on their behalf, regularly transact business within this federal judicial district and,
  therefore, reside in the State of New Jersey within the meaning of 28 U.S.C. § 1391(b) and
  (c).

            IV.     CONTENTIONS REGARDING CLAIMS ARISING UNDER THE
                       FAIR DEBT COLLECTION PRACTICES ACT

       15.     Plaintiff’s legal contentions with regard to the claims arising under the
  FDCPA are set forth in the attached Schedule A.

                               V.     FACTUAL ALLEGATIONS
        16.      On August 22, 2014, WELTMAN commenced a civil action (“Collection
  Lawsuit”) in the Superior Court of New Jersey by filing a complaint in a case entitled
  TERI LOAN HOLDINGS, LLC v. BRUNO TEIXEIRA which was designated in that court
  by Docket No. UNN-L-003041-14.

         17.      A true copy of that complaint is attached as Exhibit A.

          18.    Among other things, the complaint filed in the Collection Lawsuit alleged
  that in 1992 TEIXEIRA had incurred a debt for an educational loan (“Teixeira
  Obligation”).

         19.    The Collection Lawsuit alleged that TEIXEIRA had defaulted on the
  Teixeira Obligation and that there remained a balance due and owing to TERI in the
  amount of $42,002.10.

        20.     The Collection Lawsuit demanded a judgment against TEIXIRA in the
  amount of $42,002.10, plus costs and disbursements.

         21.     The account agreement concerning the Teixeira Obligation, which is
  attached as an exhibit to the complaint in the Collection Lawsuit, reflects that the
  agreement was made and entered into by TEIXEIRA in the State of New Jersey.

         22.     As reflected on the account agreement concerning the Teixeira Obligation,
  which is attached as an exhibit to the complaint in the Collection Lawsuit, the Teixeira
  Obligation would have been in default if, inter alia, TEIXEIRA failed to make a payment
  when due.

         23.      The last payment on Teixeira Obligation was made in or before 1998.

         24.    As reflected in Exhibit A, on March 9, 2012, the Teixeira Obligation was
  assigned to TERI for collection.

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          25.     Based on the date of TEIXEIRA’s last payment the Teixeira Obligation
  was in default at the time it was obtained by or assigned to TERI for the purpose of
  collecting or attempting to collect it from TEIXEIRA.

         26.     Based on the date of TEIXEIRA’s last payment the Teixeira Obligation
  was in default in 1998, which was more than six years prior to the commencement of the
  Collection Lawsuit.

         27.     Following TEIXEIRA’s attempts to have the Collection lawsuit dismissed
  by appearing pro se, WELTMAN filed an ex parte Request to Dismiss without prejudice
  on April 29, 2015.

         28.     By commencing the Collection Lawsuit, Defendants:

                 28.01. falsely represented the character of the Teixeira Obligation;

                 28.02. threatened to have a judgment entered against TEIXEIRA which
                         could not be legally obtained had Defendants disclosed that the
                         applicable statute of limitations had expired;

                 28.03. used deceptive means in an attempt to collect the Teixeira
                         Obligation;

                 28.04. used unfair or unconscionable means in an attempt to collect the
                         Teixeira Obligation; and

                 28.05. engaged in the act, use or employment of an unconscionable
                         commercial practice, deception, fraud, false pretense and
                         misrepresentation in connection with the attempt to collect a
                         consumer debt.

                                 VI.    CLASS ALLEGATIONS
          29.    Plaintiff brings this action both individually and as a class action on behalf
  of the Class he seeks to represent pursuant to Fed. R. Civ. P. 23.

          30.     Subject to discovery and further investigation which may cause Plaintiff to
  modify the following class definition at the time Plaintiff moves for class certification,
  Plaintiff defines the “Class” as follows:

         Excluding persons who, prior to the date this action is certified to proceed
         as a class action, either (a) died, (b) obtained a discharge in bankruptcy,
         (c) commenced an action in any court against Defendant alleging a
         violation of the Fair Debt Collection Practices Act, (d) signed a general


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         release of claims against Defendant, or (e) is a Judge assigned to this case
         or member of such Judge’s staff or immediate family, the Class consists
         of:

  Each natural person who was named as a defendant in a Lawsuit commenced by
  Defendants during the Class Period in an attempt to collect on a Stale Debt, where:

         “Class Period” means the one year period prior to the filing of this complaint and
                ending 21 days thereafter;
         “Lawsuit” means a civil action commenced in the Superior Court of New Jersey;
         “Stale Debt” means a financial obligation owed or alleged to be owed to TERI
                when the last payment on that account, as shown in the records obtained by
                Defendants, was more than six years and 31 days before the date
                Defendants commenced the Lawsuit.

          31.     The “Class Claims” consist of all Claims arising under the FDCPA based
  on or arising from Defendants’ commencement of a Lawsuit to collect a Stale Debt.

         32.       Based on discovery and further investigation (including, but not limited
  to, Defendants’ disclosure of class size and net worth), Plaintiff may, in addition to
  moving for class certification using modified definitions of the Class, Class Claims, and
  Class Period, seek class certification only as to particular issues as permitted under
  Fed. R. Civ. P. 23(c)(4).

        33.       The identity of each member of the Class is readily ascertainable from
  Defendants’ business records and those records of the entity(ies) on whose behalf
  Defendants sought to collect Stale Debts.

          34.      This action has been brought, and may properly be maintained, as a class
  action pursuant to the provisions of Fed. R. Civ. P. 23(a) because there is a well-defined
  community interest in the litigation in that:

                 34.01. Numerosity. Plaintiff is informed and believes, and on that basis
                        alleges, that the members of the Class are so numerous that joinder
                        of all members would be impractical. On information and belief,
                        there are more than 40 members of the Class.

                 34.02. Commonality. Common questions of law and fact exist as to all
                        members of the Class; the principal issues are whether Defendants’
                        written communications to consumers, in the form attached as
                        Exhibit A violate 15 U.S.C. §§ 1692e(2)(A), 1692e(5), 1692(10),
                        1692f, and 1692f(1).



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                 34.03. Typicality. Plaintiff’s claims are typical of the claims of the Class
                        members. Plaintiff and all members of the Class have claims arising
                        out of the Defendants’ common and uniform course of conduct with
                        respect to Defendants’ written communications to consumers in the
                        form attached as Exhibit A.

                 34.04. Adequacy. Plaintiff will fairly and adequately protect the interests
                        of members of the Class ss insofar as Plaintiff has no interests that
                        are averse to the absent Class members. The Plaintiff is committed
                        to vigorously litigating this matter. Plaintiff has also retained
                        counsel experienced in handling consumer lawsuits, complex legal
                        issues, and class actions. Plaintiff and his counsel have no interests
                        which might cause them not to vigorously pursue the instant class
                        action lawsuit.

        35.       This action may be maintained as a “B1a-class”, a “B2-class”, a “B3-
  class”, or a hybrid of any two or all three types however, at the time of commencing this
  action, Plaintiff expects to seek certification of a class under Fed. R. Civ. P. 23(b)(3)
  because the questions of law and fact common to members of the Class and Sub-Class
  appear to predominate over any questions affecting an individual member, and a class
  action would be superior to other available methods for the fair and efficient adjudication
  of the controversy because individual joinder of all members would be impracticable,
  class action treatment will permit a large number of similarly situated persons to prosecute
  their common claims in a single forum efficiently and without unnecessary duplication of
  effort and expense that individual actions would engender, an important public interest
  will be served by addressing the matter as a class action, substantial expenses to the
  litigants and to the judicial system will be realized, and difficulties are unlikely in the
  management of a class action.

                                  VII.    CAUSE OF ACTION
         36.      Plaintiff realleges and incorporates by reference the allegations in the
  preceding paragraphs of this Complaint.

         37.       WELTMAN is a “debt collector” within the meaning of 15 U.S.C.
  § 1692a(6).

         38.       TERI is a “debt collector” within the meaning of 15 U.S.C. § 1692a(6).

        39.        The Teixeira Obligation is a “debt” within the meaning of 15 U.S.C.
  §1692a(5).

         40.       TEIXEIRA is a “consumer” within the meaning of 15 U.S.C. § 1692a(3).

         41.       WELTMAN attempted to collect the Teixeira Obligation from

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  TEIXEIRA.

         42.        TERI attempted to collect the Teixeira Obligation from TEIXEIRA.

       43.      In Defendants’ attempt to collect the Teixeira Obligation, Defendants
  commenced the Collection Lawsuit.

         44.       At the time the Defendants commenced the Collection Lawsuit, suit on
  the Teixeira Obligation was barred by the applicable statute of limitations.

       45.      Defendants’ commencement of the Collection Lawsuit violated the
  FDCPA in one or more of the following ways:

                  45.01. Using false, deceptive, or misleading representations and/or means
                          in connection with the collection of any debt, which constitutes a
                          violation of 15 U.S.C. §1692e including but not limited to:

                          (a)      Falsely representing the character of the Teixeira Obligation
                                   in violation of 15 U.S.C. § 1692e(2)(A);

                          (b)      Falsely representing the legal status of the Teixeira
                                   Obligation in violation of 15 U.S.C. § 1692e(2)(A);

                          (c)      Threatening to take any action that cannot legally be taken
                                   or that is not intended to be taken in violation of 15 U.S.C.
                                   §1692e(5); and

                          (d)      Using a false representation and/or deceptive means to
                                   collect or attempt to collect any debt or to obtain
                                   information concerning a consumer in violation of 15 U.S.C.
                                   § 1692e(10).

                  45.02. Using unfair or unconscionable means to collect or attempt to
                          collect a debt in violation of 15 U.S.C. § 1692f including but not
                          limited to:

               (a) Collecting or attempting to collect an amount not permitted by law in
                   violation of 15 U.S.C. § 1692f(1).

         46.      Based on any one of those violations, Defendants are each liable to
  TEIXEIRA and the Class for statutory damages, actual damages, attorney’s fees and costs
  under 15 U.S.C. § 1692k.

                                VIII.          PRAYER FOR RELIEF
         47.      WHEREFORE, Plaintiff, Bruno M. Teixeira, on behalf of himself and all

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  others similarly situated, respectfully requests that the Court enter judgment against
  Defendants, Weltman, Weinberg & Reis Co., L.P.A. and TERI Loan Holdings, LLC:

                 47.01. An order certifying that this action may be maintained as a class
                         pursuant to Fed. R. Civ. P. 23 including defining the class, defining
                         the class claims, and appointing Plaintiff and their undersigned
                         attorneys to represent the Class;

                 47.02. An award of statutory damages for TEIXEIRA pursuant to 15
                         U.S.C. § 1692k(a)(2)(A) and § 1692k(a)(2)(B)(i);

                 47.03. An award of actual damages for TEIXEIRA pursuant to 15 U.S.C.
                         § 1692k(a)(1);

                 47.04. An award of statutory damages for the Class pursuant to 15 U.S.C.
                         § 1692k(a)(2)(B)(ii);

                 47.05. Attorney’s fees, litigation expenses, and costs pursuant to 15
                         U.S.C. § 1692k(a)(3); and

                 47.06. For such other and further relief as may be just and proper.

                                      IX. JURY DEMAND
           48.    Plaintiff, on behalf of himself and all others similarly situated, demands a
  trial by jury on all issues so triable.

                 X. CERTIFICATION PURSUANT TO LOCAL CIVIL RULE
          49.     Pursuant to L. Civ. R. 11.2, I hereby certify to the best of my knowledge
  that the matter in controversy is not the subject of any other action pending in any court or
  the subject of a pending arbitration proceeding, nor is any other action or arbitration
  proceeding contemplated. I further certify that I know of no party, other than putative
  class members, who should be joined in the action at this time.

                                           STERN•THOMASSON LLP
                                           Representing Plaintiff, Bruno M. Teixeira

                                                          s/ Andrew T. Thomasson
   Dated: August 21, 2015                                  Andrew T. Thomasson

                                                             s/ Philip D. Stern
   Dated: August 21, 2015                                     Philip D. Stern




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                             SCHEDULE “A”
                 First. The FDCPA “covers conduct taken in connection with the
        collection of any debt.” McLaughlin v. Phelan Hallinan & Schmieg, LLP,
        756 F.3d 240 (3rd Cir. 2014) (internal quotation marks omitted). The Act
        “was passed to promote ethical business practices by debt collectors.”
        Sullivan v. Equifax, Inc., CIV.A. 01-4336, 2002 WL 799856 (E.D. Pa.
        Apr. 19, 2002). The Act was necessary because existing consumer
        protection laws were inadequate as demonstrated by abundant evidence of
        abusive, deceptive, and unfair debt collection practices by many debt
        collectors which contributed to the number of personal bankruptcies,
        marital instability, loss of jobs, and invasions of individual privacy. 15
        U.S.C. §§ 1692(a) and 1692(b). Thus, Congress adopted the FDCPA with
        the “express purpose to eliminate abusive debt collection practices by debt
        collectors, and to insure that those debt collectors who refrain from using
        abusive debt collection practices are not competitively disadvantaged.”
        Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573,
        130 S. Ct. 1605, 1623, 176 L. Ed. 2d 519 (2010) (internal quotes and
        ellipsis omitted; emphasis added); 15 U.S.C. § 1692(e).
                Second.          The Act is not concerned with whether the
        consumer owes the debt. “Congress recognized that ‘the vast majority of
        consumers who obtain credit fully intend to repay their debts. When
        default occurs, it is nearly always due to an unforeseen event such as
        unemployment, overextension, serious illness or marital difficulties or
        divorce.’” FTC v. Check Investors, Inc., 502 F.3d 159, 165 (3d Cir. 2007).
        Nevertheless, “‘[a] basic tenet of the Act is that all consumers, even those
        who have mismanaged their financial affairs resulting in default on their
        debt, deserve ‘the right to be treated in a reasonable and civil manner.’”
        FTC, supra, 502 F.3d at 165 (emphasis added) quoting Bass v. Stolper,
        Koritzinsky, Brewster & Neider, S.C., 111 F.3d 1322, 1324 (7th Cir.
        1997).
                 Third. “Congress also intended the FDCPA to be self-enforcing by
        private attorney generals [sic].” Weiss v. Regal Collections, 385 F.3d 337,
        345 (3d Cir. 2004). “In order to prevail, it is not necessary for a plaintiff to
        show that she herself was confused by the communication she received; it
        is sufficient for a plaintiff to demonstrate that the least sophisticated
        consumer would be confused.” Jacobson v. Healthcare Fin. Services, Inc.,
        516 F.3d 85, 91 (2d Cir. 2008); and, see, Gonzales v. Arrow Fin. Services,
        LLC, 660 F.3d 1055 (9th Cir. 2011). “Thus, the FDCPA enlists the efforts
        of sophisticated consumers … as private attorneys general to aid their less
        sophisticated counterparts, who are unlikely themselves to bring suit under
        the Act, but who are assumed by the Act to benefit from the deterrent
        effect of civil actions brought by others.” Jensen v. Pressler and Pressler,
        LLP, 791 F.3d 413, 419 (3rd Cir. June 30, 2015) (internal quotation marks
        omitted).

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                 Fourth.        The FDCPA is construed broadly so as to effectuate
         its remedial purposes and a debt collector’s conduct is judged from the
         standpoint of the “least sophisticated consumer,” Brown v. Card Serv. Ctr,
         464 F.3d 450, 453n1 (3d Cir. 2006). In this way, “the FDCPA protects all
         consumers, the gullible as well as the shrewd.” Clomon v. Jackson, 988
         F.2d 1314, 1318 (2d Cir. 1993). For example, a “debt collection letter is
         deceptive where it can be reasonably read to have two or more different
         meanings, one of which is inaccurate.” Id. at 455. Furthermore, except
         where the Act expressly makes knowledge or intent an element of the
         violation, the “FDCPA is a strict liability statute.” Allen ex rel. Martin v.
         LaSalle Bank, N.A., 629 F.3d 364, 368 (3d Cir. 2011) (citing, in footnote
         7, supporting authorities from the Second, Seventh, Ninth and Eleventh
         Circuits).
                 Fifth. The FDCPA creates no special exceptions for attorneys –
         even when that conduct falls within conduct traditionally performed only
         by attorneys. Heintz v. Jenkins, 514 U.S. 291 (1995). For example, there is
         no “litigation privilege” for debt collecting attorneys. Sayyed v. Wolpoff &
         Abramson, 485 F.3d 226 (4th Cir. 2007). “Attorneys who regularly engage
         in debt collection or debt collection litigation are covered by the FDCPA,
         and their litigation activities must comply with the requirements of that
         Act.” Piper v. Portnoff Law Associates, 396 F.3d 227, 232 (3d Cir. 2005).
         Indeed, “[a]buses by attorney debt collectors are more egregious than
         those of lay collectors because a consumer reacts with far more duress to
         an attorney’s improper threat of legal action than to a debt collection
         agency committing the same practice.” Crossley v. Lieberman, 868 F.2d
         566, 570 (3d Cir. 1989).
                 Sixth. Liability under the FDCPA arises upon the showing of a
         single violation. Taylor v. Perrin, Landry, deLaunay & Durand, 103 F.3d
         1232, 1238 (5th Cir. 1997); Bentley v. Great Lakes Collection Bureau, 6
         F.3d 60, 62-3 (2d Cir. 1993).
                 Seventh.        “To prevail on an FDCPA claim, a plaintiff must
         prove that (1) she is a consumer, (2) the defendant is a debt collector, (3)
         the defendant’s challenged practice involves an attempt to collect a ‘debt’
         as the Act defines it, and (4) the defendant has violated a provision of the
         FDCPA in attempting to collect the debt.” Douglass v. Convergent
         Outsourcing, 765 F.3d 299, 303 (3d Cir. 2014).
                 Eighth.         Liability under the FDCPA is excused only when a
         debt collector establishes, as an affirmative defense, the illegal conduct
         was either “not intentional and resulted from a bona fide error
         notwithstanding the maintenance of procedures reasonably adapted to
         avoid any such error,” 15 U.S.C. § 1692k(c), or an “act done or omitted in
         good faith in conformity with any advisory opinion of the” Consumer
         Financial Protection Bureau, 16 U.S.C. § 1692k(e). Thus, common law
         privileges and immunities are not available to absolve a debt collector


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         from liability under the FDCPA. See, Heintz v. Jenkins, 514 U.S. 21,
         (1995); Allen ex rel. Martin v. LaSalle Bank, N.A., 629 F.3d 364, 369 (3rd
         Cir. 2011); and Sayyed v. Wolpoff & Abramson, 485 F. 3d 236, 232-233
         (4th Cir. 2007).
                  Ninth. A debt collector who violates any provision of the FDCPA
         is liable for “additional damages” (also called “statutory damages”) up to
         $1,000.00, and attorney’s fees and costs. 15 U.S.C. § 1692k(a). The
         absence of actual damages is not a bar to such actions as “Congress may
         enact statutes creating legal rights, the invasion of which creates standing,
         even though no injury would exist without the statute.” Linda R.S. v.
         Richard D., 410 U.S. 614, 617 n3 (1973). Indeed, Congress, through “the
         FDCPA[,] permits and encourages parties who have suffered no loss to
         bring civil actions for statutory violations.” Jacobson, supra, 516 F.3d at
         96 (emphasis added).
                 Tenth. The FDCPA also provides for class relief “capped” at the
         lesser of $500,000 or 1% of the debt collector’s net worth. 15 U.S.C.
         § 1692k(a)(2)(B). “Representative actions, therefore, appear to be
         fundamental to the statutory structure of the FDCPA.” Weiss, supra, 385
         F.3d at 345. Indeed, while limiting class relief, Congress nevertheless
         recognized the effectiveness of class actions to enforce the FDCPA and,
         therefore, mandated that a class action should be maintained “without
         regard to a minimum individual recovery.” Id. When a debt collector
         opposes class certification based on its minimal or negative net worth,
         “there is a chance that no claims would proceed against Defendants due to
         a lack of financial incentive, thereby leaving unpunished allegedly
         thousands of FDCPA violations. This is exactly the kind of result
         Congress intended to avoid through the creation of the class action form.”
         Barkouras v. Hecker, 2006 WL 3544585, 2006 U.S. DIST. LEXIS 88998
         (D.N.J. Dec. 8, 2006).




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              EXHIBIT “A”
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